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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 EDWARD WEST and PAMELA WEST,                  §
                                               §
        Plaintiffs,                            §
                                               §
 v.                                            §              Civil Action No. 4:22-cv-4245
                                               §
 DOVENMUEHLE                                   §
 MORTGAGE,    INC.               and       LNV §
 CORPORATION,                                  §
                                               §
        Defendants.                            §

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiffs Edward West and Pamela West (“Plaintiffs”) and Defendant Dovenmuehle

Mortgage, Inc. (“Defendant”, and together with Plaintiffs, “the Parties”)) file this Joint Stipulation

of Dismissal with Prejudice, and show as follows:

                                                  I.

       The Parties have reached an agreement for Plaintiffs to dismiss their claims against

Defendant with prejudice. As such, in accordance with their agreement, the Parties respectfully

request that the Court sign an order:

       1.      that this Joint Stipulation of Dismissal is granted;

       2.      that all of Plaintiffs’ claims in this Action against Defendant are dismissed with

prejudice to the re-filing of same; and

       3.      that Defendant’s costs and attorneys fees be charged to the subject loan.

The foregoing is stipulated by the Parties as indicated below.




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                                                  Respectfully submitted,

                                                By:    /s/ Mark D. Cronenwett
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                                                Attorneys    for   Defendant    Dovenmuehle
                                                Mortgage, Inc.

                                                and

                                                By: /s/ Brandy M. Alexander with permission by
                                                Mark D. Cronenwett__________________
                                                     BRANDY M. ALEXANDER
                                                     Texas Bar No. 24108421
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                                                ALEXANDER LAW, PLLC
                                                2502 La Branch St.
                                                Houston, Texas 77004
                                                Attorney for Plaintiffs




                               CERTIFICATE OF SERVICE

        I hereby certify that on January 30, 2023, a true and correct copy of the foregoing was
delivered to the following via ECF Notification:

   Brandy M. Alexander
   Alexander Law, PLLC
   2502 La Branch St.
   Houston, TX 77004

                                                   _/s/ Mark D. Cronenwett__
                                                   MARK D. CRONENWETT



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